
940 N.E.2d 1155 (2011)
PEOPLE State of Illinois, respondent,
v.
Raymond WRENCHER, petitioner.
No. 110742.
Supreme Court of Illinois.
January 26, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Fourth District, is directed to vacate its judgment in People v. Wrencher, 399 Ill.App.3d 1136, 341 Ill.Dec. 45, 929 N.E.2d 1124 (2010). The appellate court is directed to reconsider its judgment in light of People v. Thompson, 238 Ill.2d 598, 345 Ill.Dec. 560, 939 N.E.2d 403 (2010), to determine if a different result is warranted.
